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                                             9                         UNITED STATES DISTRICT COURT
                                            10
                                                                      CENTRAL DISTRICT OF CALIFORNIA
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                                            12 PLUSPASS, INC.,
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                                                                                            Case No. 2:20-CV-10078-FWS-SK
       600 W. Broadway, Suite 1500




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          San Diego, CA 92101




                                                               Plaintiff,
            One America Plaza




                                            14                                              UNOPPOSED APPLICATION FOR
                                            15           vs.                                LEAVE TO FILE UNDER SEAL
                                                                                            PURSUANT TO L.R. 79-5.2.2(a) AND
                                            16 VERRA MOBILITY CORP.,                        L.R. 79-5.2.2(b)
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                                                               Defendant.                   Judge: Hon. Fred W. Slaughter
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                                             1                 NOTICE OF UNOPPOSED APPLICATION TO SEAL
                                             2           TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
                                             3           PLEASE TAKE NOTICE THAT, pursuant to L.R. 79-5.2.2(a) and L.R. 79-
                                             4 5.2.2(b), Third-Party Avis Budget Group, Inc. (“ABG”) respectfully submits this
                                             5 application (“Application”) for leave to file under seal certain excerpts from a hearing
                                             6 transcript that occurred before this Court on October 4, 2023 that contains information
                                             7 designated as “Confidential” or “Highly Confidential – Attorneys’ Eyes Only”
                                             8 (“AEO”) by ABG in accordance with the Stipulated Protective Order entered in this
                                             9 action [Dkt. 96].
                                            10           The portions of the October 4, 2023 transcript that ABG seeks to seal are limited
                                            11 as follows: Transcript pp. 64:8-10; 64:21-22; 65:2-9; 65:15-17 and 24-25; 67:23-25;
                                            12 68:8-9; 68:12-17; 68:24-69:1; 69:4-7. 1 The basis for the request is that these portions
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                                            13 include testimony of ABG Vice President of Ancillary Revenue made pursuant to a
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                                            14 subpoena that consists of confidential business information that would put ABG at a
                                            15 competitive disadvantage if disclosed to other rental car companies (many of which
                                            16 are also involved as third-parties in this action). In addition, any public interest in this
                                            17 information would be (at most) minimal because the matter has reached a confidential
                                            18 settlement so ABG’s confidential information provides no insight into the matter or
                                            19 resolution. This Application is supported by the declaration of Robert Muhs and is
                                            20 unopposed by the parties in this action. For the reason stated below, ABG respectfully
                                            21 requests an order sealing those excerpts (proposed order included).
                                            22                    MEMORANDUM OF LAW AND AUTHORITIES
                                            23 I.        Standard of Review
                                            24           The presumption of public access to judicial records may be rebutted by
                                            25
                                            26   Pursuant to Local Rule 79-5.2.2, ABG submits a redacted version of the transcript.
                                                 1


                                            27 Notably, ABG does not have the entire transcript and only submits the portion it seeks
                                               to redact. ABG understands that other third-party rental car companies are seeking to
                                            28 seal portions related to their respective businesses, so ABG has not been given access
                                               to the entire transcript to file.
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                                             1 evidence of “compelling reasons” to protect the information contained therein. See
                                             2 Fed. R. Civ. P. 26(c)(1); Kamakana v. City and County of Honolulu, 447 F.3d 1172,
                                             3 1178 (2006) (“A party seeking to seal a judicial record then bears the burden of
                                             4 overcoming this strong presumption by meeting the “compelling reasons” standard.”)
                                             5 (citations omitted).
                                             6           Courts will balance several factors to determine whether compelling reasons
                                             7 exist to seal a court filing. These factors are: (1) public’s interest in understanding the
                                             8 judicial process; (2) whether the disclosure would result in improper use; (3) the
                                             9 interests of the parties and the balance of equities; and (4) the duty of the courts to
                                            10 balance these competing interests and to inform the public of the basis for its decision.”
                                            11 California ex rel. Lockyer v. Safeway, Inc., 355 F. Supp. 2d 1111, 1115 (C.D. Cal.
                                            12 2005); see also Foltz v. State Farm Mut. Auto Insur. Co., 331 F.3d 1122, 1135-36 (9th
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                                            13 Cir. 2003). A party can overcome the presumption of public access to court records by
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                                            14 demonstrating important countervailing interests in maintaining the confidentiality of
                                            15 sensitive business information. Kamakana, 447 F.3d at 1179.
                                            16           “Compelling reasons” sufficient to outweigh the public’s interest in disclosure
                                            17 exist when disclosure might have become a vehicle for improper purposes, such as the
                                            18 “‘sources of business information that might harm a litigant’s competitive standing.’”
                                            19 Center for Auto Safety v. Chrysler Group, LLC, 809 F.2d 1092, 1096-97 (9th Cir.
                                            20 2016) citing Nixon v. Warner Communications, Inc., 435 U.S. 589, 598-99 (1978).
                                            21 Courts typically find that “compelling reasons” exist to protect confidential,
                                            22 proprietary information such as contractual provisions, business arrangements, pricing
                                            23 terms or trade secrets. See e.g., In re Elect. Arts, Inc., 298 Fed. Appx. 568 (9th Cir.
                                            24 Oct. 28, 2008) (trade secrets such as “pricing terms, royalty rates, and guaranteed
                                            25 minimum payment terms”); In re Hydroxycut Mktg. and Sales Prac. Litig., 2011 WL
                                            26 864897 (S.D. Cal. March 11, 2011); Icon-IP Pty Ltd. v. Specialized Bicycle
                                            27 Components, Inc., 2015 WL 984121 (N.D. Cal. March 4, 2015) (contractual terms
                                            28 affecting party’s competitive and economic standing in its future business

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                                             1 negotiations).
                                             2 II.       Compelling Reasons Justify Sealing Designated Transcript Excerpts
                                             3           Compelling reasons justify portions of the transcript identified by non-party
                                             4 ABG because the balance of interests outweigh the presumption favoring public access
                                             5 to court filings. The public derives little value in accessing these excerpts while ABG
                                             6 is subject to substantial competitive harm with the disclosure of its highly confidential,
                                             7 proprietary information to its competitors (which are also involved as third-parties in
                                             8 this proceeding due to subpoenas).
                                             9           A.    The Parties Settled This Case Mooting ABG’s Testimony
                                            10           The public derives little benefit in accessing the information contained in
                                            11 ABG’s testimony. The entire action has settled and will be dismissed. Because the
                                            12 matter was not determined on its merits, and the terms of the parties’ settlement
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                                            13 agreement are confidential, the public gains little insight into the judicial process and
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                                            14 the court’s interest in informing the public of the basis of its decision is not furthered
                                            15 by maintaining non-party ABG’s testimony in the public records.
                                            16           B.    ABG Suffers Substantial Competitive Harm If Confidential and
                                            17                 Proprietary Information is Disclosed
                                            18           ABG’s interest in protecting its confidential and proprietary information
                                            19 outweighs the minimal benefit the public gains from the disclosure of its testimony.
                                            20 As set forth in the declaration of Robert Muhs, ABG seeks to seal portions of the
                                            21 testimony of Beth Gibson, ABG’s Vice President of Ancillary Revenue, who testified
                                            22 in response to a subpoena in this case. (Muhs Dec. ¶ 2.) The portions of Ms. Gibson’s
                                            23 testimony that ABG seeks to redact reflect ABG’s confidential business information
                                            24 and internal business strategies for evaluating and contracting with outside third
                                            25 parties to perform critical and necessary services for customers. This information is
                                            26 protected, not publicly available and reasonable efforts are employed to maintain its
                                            27 confidentiality. (Id. ¶ 10.)
                                            28           Disclosure of this information will provide competitors (like fellow third-parties

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                                             1 Hertz and Enterprise) with knowledge of ABG’s strategies, processes, and internal
                                             2 practices, which would be extremely harmful. It will allow competitors to utilize
                                             3 information that cannot be obtained in good faith and derive information regarding
                                             4 ABG’s confidential business model and strategic decisions, which will eliminate
                                             5 and/or diminish ABG’s competitive and economic advantage. (Id. ¶ 11.)
                                             6           Specifically, Ms. Gibson’s testimony discloses ABG’s strategies relating to its
                                             7 evaluation of vendors and contracts which, if disclosed, will provide a competitive
                                             8 advantage to others in the car rental industry because it contains the manner and
                                             9 methodology employed by ABG in procuring and negotiating contracts on its behalf,
                                            10 and other confidential business practices and procedures that ABG relies upon to
                                            11 maintain its competitive advantage. (Id. ¶ 12.)
                                            12           The portions that ABG seeks to seal are below:
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                                                  Citations Requested                          Compelling Reason
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            One America Plaza




                                                       be Sealed
                                            14
                                            15    Tr. 64:8-10; 64:21-22; This testimony references Ms. Gibson’s testimony in her
                                                  65:2-9; 65:15-17 and deposition and describes how ABG and its management
                                            16    24-25; 67:23-25; 68:8-
                                                                         identify and view third-party vendors submissions for
                                            17    9; 68:12-17; 68:24-
                                                  69:1; 69:4-7           consideration of contract management including the
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                                                                            methodology and analysis that ABG uses to evaluate and
                                            19
                                                                            employ their services. This information is protected and
                                            20
                                                                            confidential and will further enable vendors and
                                            21
                                                                            competitors insight into ABG’s business model and internal
                                            22
                                                                            strategic partnering decisions, which will be used to ABG’s
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                                                                            competitive and economic harm.
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                                            27 III.      Conclusion
                                            28           For the foregoing reasons, ABG respectfully requests that the Court grant the

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                                             1 Application to seal the designated portions of the October 4, 2023 transcript. The
                                             2 limited portions reflect confidential business information of a third-party in a settled
                                             3 and dismissed action.
                                             4
                                                 DATED: December 26, 2023                  HAHN LOESER & PARKS LLP
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                                                                                           By:
                                             7                                                   Michael J. Gleason
                                                                                                 Attorney for Third Party Avis Budget
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                                                                                                 Group, Inc.
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                                             1                    ATTESTATION UNDER LOCAL RULE 5-4.3.4
                                             2           I am the ECF User whose ID and password are being used to file this Joint
                                             3 Renewed Application for Leave to Seal. In compliance with Local Rule 5 4.3.4(a)(2),
                                             4
                                             5 DATED: December 26, 2023                    HAHN LOESER & PARKS LLP
                                             6
                                             7
                                                                                           By:
                                             8                                                   Michael J. Gleason
                                             9                                                   Attorney for Third Party Avis Budget
                                                                                                 Group, Inc.
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